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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                  AIKEN DIVISION


John Wesley Hightower,
                                                     Case No.: 1:13-cv-03558-JMC-PJG
                                  Plaintiff,
                                                                  COMPLAINT
               vs.                                            (Jury Trial Demanded)

Savannah River Remediation LLC,

                                  Defendant.



       The Plaintiff, John Wesley Hightower, complaining of the Defendant herein, would

respectfully allege as follows:

                                   PARTIES AND JURISDICTION

       1.      Plaintiff is a black male and a citizen and resident of Aiken County, South

Carolina.

       2.      The Defendant, Savannah River Remediation LLC (“SRR”) is a company

organized in Delaware and which conducts business in Aiken County, South Carolina; where it

maintains facilities and offices, agents, servants and employees. Defendant SRR is a contractor

with the United States Department of Energy that performs services at the Savannah River Site

(“SRS”), where the Plaintiff is currently employed.

       3.      This action arises under Title VII of the 1991 Civil Rights Act and amendments

thereto; the Family and Medical Leave Act (“FMLA”), 29 U.S.C. §§ 2601 et seq.; and the laws

of the State of South Carolina.




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       4.      Plaintiff has exhausted his claims at the administrative level and has received

proper notice from the Department of Justice via the Equal Employment Opportunity

Commission and this action is timely brought.

       5.      Jurisdiction exists pursuant to 28 U.S.C. § 1331, which gives the District Court

original jurisdiction over any civil action authorized by law to be commenced by any person to

recover damages under any act of Congress providing for the protection of civil rights.

       6.      Venue lies within the Aiken Division pursuant to 28 U.S.C. § 1391, because the

Defendant’s principal office is located in this judicial division and most of the events giving rise

to this claim occurred in Aiken County, within the Aiken Division.



                                    FACTUAL ALLEGATIONS

       7.      Plaintiff has worked at the Savannah River Site since January, 1985 and he has

been employed by SRR since July, 2009.

       8.      Until he was demoted from his position on January 16, 2013, Plaintiff’s job title

was Tank Farm, Projects and ETP Training Lead; where he maintained good job performance.

As a Training Lead, Plaintiff had a supervisory role over several SRR employees.

       9.      On November 14, 2012, Plaintiff attended a meeting with H-Tank Farm personnel

to discuss opportunities for improvement (“OFI”) that were identified by the Facility Evaluation

Board (“FEB”) which had surveyed SRR from November 5th through 14th, 2012.

       10.     During the meeting, Plaintiff discussed the OFIs with the personnel present,

which included several white male employees under Plaintiff’s supervision.             Mike Walls

(“Walls”), a white male who worked under Plaintiff’s supervision, became angry and began

directing profanity at Plaintiff in a hostile manner. Plaintiff told Walls that he would not discuss



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the matter with him while he was behaving in this manner. At this point, Walls grabbed his coat

and approached Plaintiff, stood over Plaintiff, and continued to curse at Plaintiff and berate him.

At this point, Walls grabbed his coat and stalked over to Plaintiff, and he continued his angry

tirade while looming over Plaintiff in a threatening manner.

       11.     Jeff Becker (“Becker”), a white male who was the project lead under Plaintiff’s

supervision, escorted Walls out of the meeting. Walls continued to use profanity and slammed

the door on his way out.

       12.     At the start of this same meeting, Becker told the Plaintiff that he had lost

credibility by “Dancing with the Aiken Stars,” in which Plaintiff was dancing with a white

female. 1 Becker also told Plaintiff that he would not be able to lead his “team” at SRR, which

appeared to be racially motivated. At least one week prior to this meeting, Becker informed the

Plaintiff that he saw the Plaintiff and dance partner (white female) in the newspaper.

       13.     Becker told Plaintiff that he intended to back “his people”, Mike Walls and

others, concerning the OFIs, despite the fact that Plaintiff was their supervisor. Becker also said

he didn’t think Plaintiff would go out on leave for surgery while the team was angry with him.

Also, Becker told Plaintiff that he and “his people” were planning a meeting with Lampley,

because they did not want to work for Plaintiff after the Dancing with the Aiken Stars.

       14.     Plaintiff was scheduled to take a half day of vacation on November 15 because he

was to have surgery on November 16, 2012.

       15.     Although his subordinates disagreed with him, Plaintiff was following the “path

forward” that Plaintiff and his manager, Charles Lampley (“Lampley”), had developed for

Plaintiff’s team.
1
 “Dancing with the Aiken Stars” is an annual fundraising event in Aiken, South Carolina, that
raises money for The Child Advocacy Center of Aiken County and The Community Medical
Clinic of Aiken County.

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       16.     Plaintiff informed his manager, Charles Lampley, of the hostility that he

experienced at the meeting and the need for corrective action. Plaintiff also asked Lampley to

inform Human Resources of the event by the close of business on November 15, 2012.

       17.     Plaintiff had his surgery on November 16, 2012, and as a result, he was out of

work on medical/disability leave through December 19, 2012. Soon after Plaintiff went on

leave, Walls, Becker and one other white employee met with Lampley and possibly others and

proceeded to belittle the Plaintiff. Plaintiff contacted HR about his concerns including that he

may be moved; however HR indicated there was no issue and to not worry about the matter.

       18.     On December 20, 2012, Plaintiff sent an email to Stephanie Franklin, the head of

SRR’s EEO department, explaining what had happened at the November 14, 2012 meeting and

complaining of the discriminatory treatment.

       19.     Later that morning, Plaintiff attended a meeting with Human Resources while he

was still officially out 2, and he was told that he should apologize to Becker and Walls, despite

the fact that they were his subordinates and they were the wrongful actors at the meeting,

because Plaintiff needed to make his team happy.          Human Resources claimed it was a

“management issue” but not a performance issue.

       20.     After meeting with medical personnel that same day, Plaintiff was supposed to

start with three days of work hardening 3 before resuming his normal schedule; however, he was

subsequently informed by Lampley that he would not be allowed to complete this program and

that he would have to take the rest of the year off. Moreover, he was told that he must use his




2
  HR met with Plaintiff on December 20, 2012 prior to Plaintiff meeting with medical later that
day to be cleared for work.
3
  Work Hardening is a program to recondition an employee to return to work. In this instance,
Plaintiff would work three half days until he was able to return to work full-time.

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accrued vacation time and would no long be allowed to carry it over into the following year,

even though this excess carry-over had already been approved back in November 2012.

       21.     Plaintiff contacted OCR on or about December 27, 2012, and left a message, and

he then met with the OCR manager on January 7, 2013.

       22.     On December 20, 2012, Plaintiff became aware that Paul Shedd (white male

manager over Lampley) and Lampley were having a meeting about him, despite the fact that he

was still out of work on medical/disability leave and could not be present at the meeting.

Plaintiff further learned that Becker scheduled the meeting and sent an invitation out to all SRR

employees reporting to him, but the Plaintiff was not included on the invitation. On January 3,

2013, SRR sent an email to Plaintiff again asking him to take all the blame despite the

insubordinate actions of the white employees. The next day on January 4, 2013, Plaintiff

conveyed his concerns to Lampley and asked for a meeting which was set for approximately

1:00 p.m. on his return-to-work date of January 7, 2013.

       23.     When Plaintiff returned to work on January 7, 2013, EEO confirmed they would

be “investigating” Plaintiff’s complaint. That investigation continued through January 8, 2013,

when Plaintiff was held at work until approximately 5:45 p.m. for questioning. Plaintiff was told

by Stephanie Franklin that he was to identify the person who told Plaintiff that HR was meeting

about him while he was out on disability. Franklin told Plaintiff that if he did not identify this

person he could lose his job.

       24.     Plaintiff attended a school board meeting on the evening of January 8 that began

at 7:00 p.m., and Plaintiff suffered an anxiety attack soon after the meeting began and was taken

to the emergency room. As a result of the anxiety attack, Plaintiff was held out of work until

January 14, 2013.



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        25.     When Plaintiff returned to work on January 14, 2013, Ted Myers (white male),

Human Resource Manager, in the presence of Shedd and Lampley, presented him with a letter

that said Plaintiff would be under a performance improvement plan. It was not made clear to

Plaintiff why the previously classified “management issue” had been suddenly reclassified as a

“performance issue,” especially since Plaintiff’s subordinates created the issue in question by

acting hostile and insubordinate.

        26.     The following day, a revised letter was presented to Plaintiff that was retitled

“Development Plan”, however it was still unacceptable and improper. Plaintiff agreed to sign

the letter Shedd brought to him to verify receipt, but Plaintiff was adamant that he did not agree

with the content of the letter.

        27.     On January 16, 2013, Plaintiff was stripped of his responsibilities and Jeff Becker

took over the Plaintiff’s position as lead. Plaintiff was put into a dead-end position with no

upward mobility or promotional opportunities. Plaintiff was also denied a pay increase that had

been promised to him in November, 2012 prior to his surgery. Further, Plaintiff’s demoted

position is lower ranking than before and requires him to support Becker.

        28.     The white employees, including Becker and Walls, were successful in their coup

of the Plaintiff and were supported by Shedd and other upper management, and they were

actually promoted after their deplorable conduct in the November 14, 2012, meeting. Plaintiff,

who was professional and led his team according to the plan devised for them, was demoted and

placed in a dead-end position.

                              FOR A FIRST CAUSE OF ACTION
                                 AGAINST DEFENDANT SRR
                          (Violation of Title VII - Race Discrimination)

        29.     The plaintiff realleges paragraphs 1 - 28 aforesaid.



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       30.     The demotion of the plaintiff, the adverse actions taken against him and the

promotion of a lesser qualified white employee into his position, were disparate and

discriminatory. White employees of Defendant SRR that were similarly situated were not treated

in the same manner as Plaintiff, which constitutes prohibited conduct under Title VII of the 1991

Civil Rights Act and amendments thereto and amounts to unlawful race discrimination. Further,

a climate of racial favoritism has existed and continues to exist at SRR where black employees

are held to a different, higher standard of conduct and performance than their white counterparts.

       31.     As a direct and proximate result of the actions of Defendant SRR, Plaintiff was

demoted, has suffered loss of wages, a loss of earning capacity, a loss of promotional

opportunities, as well as reputational loss and mental and emotional suffering. The plaintiff is

entitled to an award of attorney’s fees and costs as well as punitive damages.

                           FOR A SECOND CAUSE OF ACTION
                               AGAINST DEFENDANT SRR
                             (Violation of Title VII- Retaliation)

       32.     Plaintiff realleges paragraphs 1 – 31 aforesaid.

       33.     Plaintiff made reports to his supervisors, SRR’s EEO, and the Department of

Energy’s OCR, complaining of racial harassment and disparate treatment that he was

experiencing at work.

       34.     Defendant SRR failed to take appropriate action to remedy or address Plaintiff’s

reports. Instead, the retaliatory treatment Plaintiff was experiencing became more severe.

       35.     Plaintiff was demoted for pretextual reasons in retaliation for his reports of race-

based discrimination. Such action constitutes a violation of Plaintiff’s rights under Title VII of

the 1991 Civil Rights Act and amendments thereto.




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       36.     As a direct and proximate result of the actions of Defendant SRR, Plaintiff was

demoted, has suffered loss of wages, a loss of earning capacity, a loss of promotional

opportunities, as well as reputational loss and mental and emotional suffering. The plaintiff is

entitled to an award of attorney’s fees and costs as well as punitive damages.


                            FOR A THIRD CAUSE OF ACTION
                                AGAINST DEFENDANT SRR
                       (Violation of the Family and Medical Leave Act)

       37.     Plaintiff realleges paragraphs 1 - 36 aforesaid.

       38.     Plaintiff was a qualified individual under the FMLA and went on medical leave

for a serious medical condition.

       39.     While on FMLA leave, action was taken to demote plaintiff without just cause.

       40.     Plaintiff was demoted within two weeks after his return from FMLA leave. The

Plaintiff was not allowed to return to his job after returning from disability and officially

removed two weeks later. The reason given for Plaintiff’s termination was false and pretextual

as Plaintiff was terminated for exercising his rights pursuant to the FMLA. Such demotion and

retaliatory conduct was a willful and knowing violation of the FMLA.

       41.     As a direct result and consequence of the willful violation of the FMLA by

Defendant SRR, Plaintiff was placed in a dead-end job, lost his upward mobility, and a pay

increase he was promised before he went out on leave. He is entitled to back pay, front pay,

liquidated damages, attorney’s fees and costs and all other relief he may be entitled to under the

FMLA.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against the Defendant SRR for all damages

recoverable to him under Title VII, the FMLA and the common law as well as attorney’s fees


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and costs as provided by law. Plaintiff also seeks punitive damages against Defendant SRR for

their willful violation of the law.

                                             Respectfully Submitted,

                                             J. LEWIS CROMER & ASSOCIATES L.L.C.

                                             BY:    s/Julius W. Babb,IV_______
                                                    Julius W. Babb, IV (#10500)
                                                    1522 Lady Street
                                                    Post Office Box 11675
                                                    Columbia, South Carolina 29211
                                                    Phone: 803-799-9530
                                                    Fax: 803-799-9533
                                             Attorneys for Plaintiff


December 20, 2013
Columbia, SC




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